                           Case 4:21-mj-00011-HCA Document 15-1 Filed 01/19/21 Page 1 of 1
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                               Southern                                               DISTRICT OF                                            Iowa


               UNITED STATES OF AMERICA
                                                                                                                          EXHIBIT AND WITNESS LIST
                                        V.
                  DOUGLAS AUSTIN JENSEN                                                                                Case Number: 4:21-mj-00011-HCA-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Celeste F. Bremer                                                  Virginia M. Bruner                                        Mackenzi Jo Nash
HEARING DATE                                                       COURT REPORTER                                            COURTROOM DEPUTY
 1/19/2021                                                          Theresa Kenkel                                            M. Lee
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                  1/19/2021           Yes           Yes         Statement of Facts

   2                  1/19/2021           Yes           Yes         Still Photograph from Video

   3                  1/19/2021           Yes           Yes         Still Photograph from Video

   4                  1/19/2021           Yes           Yes         Still Photograph from Video

   5                  1/19/2021           Yes           Yes         Still Photograph from Video

   6                  1/19/2021           Yes           Yes         Still Photograph from Video

   7                  1/19/2021           Yes           Yes         Still Photograph from Video

   8                  1/19/2021           Yes           Yes         Still Photograph from Video

   9                  1/19/2021           Yes           Yes         Still Photograph from Video

  10                  1/19/2021           Yes           Yes         Still Photograph from Video

  11                  1/19/2021           Yes           Yes         Still Photograph from Video

  12                  1/19/2021           Yes           Yes         Still Photograph from Video

  13                  1/19/2021           Yes           Yes         Still Photograph from Video

  14                  1/19/2021           Yes           Yes         Still Photograph from Video

  15                  1/19/2021           Yes           Yes         Still Photograph from Video

  16                  1/19/2021           Yes           Yes         Still Photograph from Video

   x                  1/19/2021                                     Witness Testimony of FBI Special Agent Tyler Johnson




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                       Page 1 of    1   Pages
